           Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 1 of 33




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6
                             UNITED STATES DISTRICT COURT
7
                            WESTERN DISTRICT OF WASHINGTON
8                                     AT SEATTLE

9    MICHAEL ZECH and DAWN ZECH,
     Husband and Wife                                No.
10
                                   Plaintiffs,       COMPLAINT FOR DAMAGES
11

12          v.                                       JURY DEMAND

13   MONSANTO COMPANY,
14                                Defendant.
15

16
            COME NOW Plaintiffs Michael Zech and Dawn Zech, a married couple, through
17
     their attorneys of record, Schroeter, Goldmark & Bender, PS, and Sims Weymuller and
18
     Elizabeth McLafferty, for causes of action against the above-named Defendant, and hereby
19

20   allege as follows:

21                                         I.    PARTIES

22   Plaintiff
23          1.1.    Plaintiffs resides in Grapeview, Washington. On information and belief,
24
     Plaintiff Michael Zech was exposed to Roundup® containing the active ingredient glyphosate
25
     and the surfactant polyethoxylated tallow amine (“POEA”) in Washington for approximately
26
     25 years.


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           Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 2 of 33




1            1.2.    As a direct and proximate result of long-term exposure to Roundup®, plaintiff

2    was diagnosed with diffuse large B-cell non-Hodgkin’s lymphoma in or around July 2018.
3
     Defendants
4
             1.3.    Defendant Monsanto Company (“Monsanto”) is a Delaware corporation with
5
     its headquarters in St. Louis, Missouri.
6
             1.4.    Defendant advertises and sells goods, specifically Roundup®, in the State of
7

8    Washington.

9            1.5.    Defendant transacted and conducted business within the State of Washington
10   that relates to the allegations in this complaint.
11
             1.6.    Defendant derived substantial revenue from goods and products used in the
12
     State of Washington.
13
             1.7.    Defendant expected or should have expected its acts to have consequences
14

15   within the State of Washington.

16           1.8.    Defendant engaged in the business of designing, developing, manufacturing,

17   testing, packaging, marketing, distributing, labeling, and/or selling Roundup®.
18                               II.   JURISDICTION AND VENUE
19
             2.1.    This Court has jurisdiction over Defendant and this action pursuant to 28
20
     U.S.C. § 1332 because the amount in controversy exceeds $75,000, exclusive of interest and
21
     costs and, because there is complete diversity of citizenship between Plaintiff and
22
     Defendants.
23

24           2.2.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391; at all times

25   material, plaintiff was a resident of Washington State and Defendants at all times material
26   transacted business in Washington selling, marketing, and/or distributing Roundup®.



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           Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 3 of 33




1                                                 III.   FACTS

2            3.1.     In 1970, Defendant Monsanto Company discovered the herbicidal properties
3    of glyphosate and began marketing it in products in 1974 under the brand name Roundup ®.
4
     Roundup® is a non-selective herbicide used to kill weeds that commonly compete with the
5
     growing of crops. By 2001, glyphosate had become the most-used active ingredient in
6
     American agriculture with 85–90 millions of pounds used annually. That number grew to 185
7

8    million pounds by 2007.1 As of 2013, glyphosate was the world’s most widely used

9    herbicide.

10           3.2.     Monsanto is a multinational agricultural biotechnology corporation based in
11   St. Louis, Missouri. It is the world's leading producer of glyphosate. As of 2009, Monsanto
12
     was the world’s leading producer of seeds, accounting for 27% of the world seed market.2
13
     The majority of these seeds are of the Roundup Ready® brand. The stated advantage of
14
     Roundup Ready® crops is that they substantially improve a farmer’s ability to control weeds,
15

16   since glyphosate can be sprayed in the fields during the growing season without harming

17   their crops. In 2010, an estimated 70% of corn and cotton, and 90% of soybean fields in the

18   United States were Roundup Ready®.3
19

20

21

22
     1
23     Arthur Grube et al., U.S. Envtl. Prot. Agency, Pesticides Industry Sales and Usage, 2006-2007 Market
       Estimates 14 (2011), available at https://www.epa.gov/sites/production/files/2015-
24     10/documents/market_estimates2007.pdf.
     2
       ETC Group, Who Will Control the Green Economy? 22 (2011), available at
25     http://www.etcgroup.org/files/publication/pdf_file/ETC_wwctge_4web_Dec2011.pdf.
     3
       William Neuman & Andrew Pollack, Farmers Cope With Roundup-Resistant Weeds, N.Y.
26     TIMES, May 3, 2010, available at https://www.nytimes.com/2010/05/04/business/energy-
       environment/04weed.html?pagewan.




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           Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 4 of 33




1            3.3.    Monsanto’s glyphosate products are registered in 130 countries and approved

2    for use on over 100 different crops.4 They are ubiquitous in the environment. Numerous
3
     studies confirm that glyphosate is found in rivers, streams, and groundwater in agricultural
4
     areas where Roundup® is used.5 It has been found in food,6 in the urine of agricultural
5
     workers,7 and even in the urine of urban dwellers that are not in direct contact with
6
     glyphosate.8 On March 20, 2015, the International Agency for Research on Cancer
7

8    (“IARC”), an agency of the World Health Organization (“WHO”), issued an evaluation of

9    several herbicides, including glyphosate. That evaluation was based, in part, on studies of
10   exposures to glyphosate in several countries around the world, and it traces the health
11
     implications from exposure to glyphosate since 2001.
12
             3.4.    On July 29, 2015, IARC issued the formal monograph relating to glyphosate.
13
     In that monograph, the IARC Working Group provides a thorough review of the numerous
14

15   studies and data relating to glyphosate exposure in humans.

16           3.5.    The IARC Working Group classified glyphosate as a Group 2A herbicide,

17   which means that it is probably carcinogenic to humans. The IARC Working Group
18   4
        Monsanto, Backgrounder-History of Monsanto’s Glyphosate Herbicides (Sep. 2, 2015), available at
19     http://www.monsantoglobal.com/global/au/products/pages/roundup.aspx
     5
       See U.S. Geological Survey, USGS Technical Announcement: Widely Used Herbicide Commonly Found in
20     Rain and Streams in the Mississippi River Basin (2011), available at
       https://archive.usgs.gov/archive/sites/www.usgs.gov/newsroom/article.asp-ID=2909.html ; see also U.S.
21     Envtl. Prot. Agency, Technical Factsheet on: Glyphosate, available at
       http://www.epa.gov/safewater/pdfs/factsheets/soc/tech/glyphosa.pdf.
     6
22     Thomas Bohn et al., Compositional Differences in Soybeans on the Market: Glyphosate Accumulates in
       Roundup Ready GM Soybeans, 153 FOOD CHEMISTRY 207 (2013), available at
23     http://www.sciencedirect.com/science/article/pii/S0308814613019201.
     7
       John F. Acquavella et al., Glyphosate Biomonitoring for Farmers and Their Families: Results
24     from the Farm Family Exposure Study, 112(3) ENVTL. HEALTH PERSPECTIVES 321 (2004), available at
       https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1241861/pdf/ehp0112-000321.pdf; Kathryn Z. Guyton et al.,
25     Carcinogenicity of Tetrachlorvinphos, Parathion, Malathion, Diazinon & Glyphosate, 112 IARC Monographs
       76, section 5.4 (2015), available at http://dx.doi.org/10.1016/S1470-2045(15)70134-8.
     8
26     Dirk Brändli & Sandra Reinacher, Herbicides found in Human Urine, 1 ITHAKA JOURNAL
       270 (2012), available at http://www.ithaka-journal.net/druckversionen/e052012-herbicides-urine.pdf.




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              Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 5 of 33




1    concluded that the cancers most associated with glyphosate exposure are non-Hodgkin’s

2    lymphoma and other hematopoietic cancers, including lymphocytic lymphoma/chronic
3
     lymphocytic leukemia, B-cell lymphoma, and multiple myeloma. 9
4
                3.6.     The IARC evaluation is significant. It confirms what has been believed for
5
     years: that glyphosate is toxic to humans.
6
                3.7.     Nevertheless, Monsanto, since it began selling Roundup®, has represented it
7

8    as safe to humans and the environment. Indeed, Monsanto has repeatedly proclaimed and

9    continues to proclaim to the world, and particularly to United States consumers, that
10   glyphosate-based herbicides, including Roundup®, create no unreasonable risks to human
11
     health or to the environment.
12
     Registration of Herbicides under Federal Law
13
                3.8.     The manufacture, formulation, and distribution of herbicides, such as
14

15   Roundup®, are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act

16   (“FIFRA” or “Act”), 7 U.S.C. § 136 et seq. FIFRA requires that all pesticides be registered

17   with the Environmental Protection Agency (“EPA”) prior to their distribution, sale, or use,
18   except as described by the Act. 7 U.S.C. § 136a(a).
19
                3.9.     Because pesticides are toxic to plants, animals, and humans, at least to some
20
     degree, the EPA requires as part of the registration process, among other things, a variety of
21
     tests to evaluate the potential for exposure to pesticides, toxicity to people and other potential
22

23   non-target organisms, and other adverse effects on the environment. Registration by the EPA,

24   however, is not an assurance or finding of safety. The determination the EPA must make in

25
     9
26       See Guyton et al., Carcinogenicity of Tetrachlorvinphos, Parathion, Malathion, Diazinon &
         Glyphosate, supra.




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           Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 6 of 33




1    registering or re-registering a product is not that the product is “safe,” but rather that use of

2    the product in accordance with its label directions “will not generally cause unreasonable
3
     adverse effects on the environment.” 7 U.S.C. § 136a(c)(5)(D).
4
            3.10.   FIFRA defines “unreasonable adverse effects on the environment” to mean
5
     “any unreasonable risk to man or the environment, taking into account the economic, social,
6
     and environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA
7

8    thus requires the EPA to make a risk/benefit analysis in determining whether a registration

9    should be granted or allowed to continue to be sold in commerce.
10          3.11.   The EPA and the State of Washington registered Roundup® for distribution,
11
     sale, and manufacture in the United States and the State of Washington.
12
            3.12.   FIFRA generally requires that the registrant, Monsanto in the case of
13
     Roundup®, conduct the health and safety testing of pesticide products. The EPA has
14

15   protocols governing the conduct of tests required for registration and the laboratory practices

16   that must be followed in conducting these tests. The data produced by the registrant must be

17   submitted to the EPA for review and evaluation. The government is not required, nor is it
18   able, however, to perform the product tests that are required of the manufacturer.
19
            3.13.   The evaluation of each pesticide product distributed, sold, or manufactured is
20
     completed at the time the product is initially registered. The data necessary for registration of
21
     a pesticide has changed over time. The EPA is now in the process of re-evaluating all
22

23   pesticide products through a Congressionally-mandated process called “re-registration.” 7

24   U.S.C. § 136a-1. In order to reevaluate these pesticides, the EPA is demanding the

25   completion of additional tests and the submission of data for the EPA’s review and
26
     evaluation.



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           Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 7 of 33




1           3.14.    In the case of glyphosate, and therefore Roundup®, the EPA had planned on

2    releasing its preliminary risk assessment —in relation to the registration process – no later
3
     than July 2015. The EPA completed its review of glyphosate in early 2015, but it delayed
4
     releasing the risk assessment pending further review in light of the WHO’s health-related
5
     findings.
6
     Scientific Fraud Underlying the Marketing and Sale of Glyphosate/Roundup®
7

8           3.15.    Based on early studies showing that glyphosate could cause cancer in

9    laboratory animals, the EPA originally classified glyphosate as possibly carcinogenic to
10   humans (Group C) in 1985. After pressure from Monsanto, including contrary studies it
11
     provided to the EPA, the EPA changed its classification to evidence of non-carcinogenicity
12
     in humans (Group E) in 1991. In so classifying glyphosate, however, the EPA made clear
13
     that the designation did not mean the chemical does not cause cancer: “It should be
14

15   emphasized, however, that designation of an agent in Group E is based on the available

16   evidence at the time of evaluation and should not be interpreted as a definitive conclusion

17   that the agent will not be a carcinogen under any circumstances.” 10
18          3.16.    On two occasions, the EPA found that the laboratories hired by Monsanto to
19
     test the toxicity of its Roundup® products for registration purposes committed fraud.
20
            3.17.    In the first instance, Monsanto, in seeking initial registration of Roundup ® by
21
     the EPA, hired Industrial Bio-Test Laboratories (“IBT”) to perform and evaluate pesticide
22

23

24

25   10
       U.S. Envtl. Prot. Agency, Memorandum, Subject: SECOND Peer Review of Glyphosate 1 (1991), available at
26    https://archive.org/stream/SecondPeerReviewOfGlyphosateEPAOct301991/Second%20Peer%20Review%20
      of%20Glyphosate%20-%20EPA%20-%20%20Oct%2030,%201991_djvu.txt.




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           Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 8 of 33




1    toxicology studies relating to Roundup®.11 IBT performed about thirty tests on glyphosate

2    and glyphosate-containing products, including nine of the fifteen residue studies needed to
3
     register Roundup®.
4
             3.18.   In 1976, the United States Food and Drug Administration (“FDA”) performed
5
     an inspection of IBT that revealed discrepancies between the raw data and the final report
6
     relating to the toxicological impacts of glyphosate. The EPA subsequently audited IBT; it too
7

8    found the toxicology studies conducted for the Roundup® herbicide to be invalid. 12 An EPA

9    reviewer stated, after finding “routine falsification of data” at IBT, that it was “hard to
10   believe the scientific integrity of the studies when they said they took specimens of the uterus
11
     from male rabbits.”13
12
             3.19.   Three top executives of IBT were convicted of fraud in 1983.
13
             3.20.   In the second incident of data falsification, Monsanto hired Craven
14

15   Laboratories in 1991 to perform pesticide and herbicide studies, including for Roundup®. In

16   that same year, the owner of Craven Laboratories and three of its employees were indicted,

17

18

19
     11
        Monsanto, Backgrounder, Testing Fraud: IBT and Craven Laboratories (June, 2005), available at
20     https://monsanto.com/app/uploads/2017/06/ibt_craven_bkg.pdf.
     12
        U.S. Envtl. Prot. Agency, Summary of the IBT Review Program Office of Pesticide Programs
21     (1983), available at
       https://nepis.epa.gov/Exe/ZyNET.exe/91014ULV.TXT?ZyActionD=ZyDocument&Client=EPA&Index=1981
22     +Thru+1985&Docs=&Query=&Time=&EndTime=&SearchMethod=1&TocRestrict=n&Toc=&TocEntry=&
       QField=&QFieldYear=&QFieldMonth=&QFieldDay=&IntQFieldOp=0&ExtQFieldOp=0&XmlQuery=&File
23     =D%3A%5Czyfiles%5CIndex%20Data%5C81thru85%5CTxt%5C00000022%5C91014ULV.txt&User=ANO
       NYMOUS&Password=anonymous&SortMethod=h%7C-
24     &MaximumDocuments=1&FuzzyDegree=0&ImageQuality=r75g8/r75g8/x150y150g16/i425&Display=hpfr&
       DefSeekPage=x&SearchBack=ZyActionL&Back=ZyActionS&BackDesc=Results%20page&MaximumPages
25     =1&ZyEntry=1&SeekPage=x&ZyPURL.
     13
        Marie-Monique Robin, The World According to Monsanto: Pollution, Corruption and the Control of the
26     World’s Food Supply (2011) (citing U.S. Envtl. Prot. Agency, Data Validation, Memo from K. Locke,
       Toxicology Branch, to R. Taylor, Registration Branch. Washington, D.C. (August 9, 1978)).




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           Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 9 of 33




1    and later convicted, of fraudulent laboratory practices in the testing of pesticides and

2    herbicides. 14
3
             3.21.    Despite the falsity of the tests that underlie its registration, within a few years
4
     of its launch, Monsanto was marketing Roundup® in 115 countries.
5
     The Importance of Roundup® to Monsanto’s Market Dominance Profits
6
             3.22.    The success of Roundup® was key to Monsanto’s continued reputation and
7

8    dominance in the marketplace. Largely due to the success of Roundup ® sales, Monsanto’s

9    agriculture division was out-performing its chemicals division’s operating income, and that
10   gap increased yearly. But with its patent for glyphosate expiring in the United States in the
11
     year 2000, Monsanto needed a strategy to maintain its Roundup® market dominance and to
12
     ward off impending competition.
13
             3.23.    In response, Monsanto began the development and sale of genetically
14

15   engineered Roundup Ready® seeds in 1996. Since Roundup Ready® crops are resistant to

16   glyphosate; farmers can spray Roundup® onto their fields during the growing season without

17   harming the crop. This allowed Monsanto to expand its market for Roundup® even further;
18   by 2000, Monsanto’s biotechnology seeds were planted on more than 80 million acres
19
     worldwide and nearly 70% of American soybeans were planted from Roundup Ready® seeds.
20
     It also secured Monsanto’s dominant share of the glyphosate/Roundup® market through a
21
     marketing strategy that coupled proprietary Roundup Ready® seeds with continued sales of
22

23   its Roundup® herbicide.

24

25
     14
26     Dr. Roger A. Novak, The Long Arm of the Lab Laws, (November, 2001) available at
      https://pubs.acs.org/subscribe/archive/tcaw/10/i11/html/11regs.html.




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          Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 10 of 33




1           3.24.    Through a three-pronged strategy of increased production, decreased prices,

2    and by coupling with Roundup Ready® seeds, Roundup® became Monsanto’s most profitable
3
     product. In 2000, Roundup® accounted for almost $2.8 billion in sales, outselling other
4
     herbicides by a margin of five to one, and accounting for close to half of Monsanto’s
5
     revenue. 15 Today, glyphosate remains one of the world's largest herbicides by sales volume.
6
     Monsanto has known for decades that it falsely advertises the safety of Roundup®
7

8           3.25.    In 1996, the New York Attorney General (“NYAG”) filed a lawsuit against

9    Monsanto based on its false and misleading advertising of Roundup products. Specifically,
10   the lawsuit challenged Monsanto’s general representations that its spray-on glyphosate-based
11
     herbicides, including Roundup, were “safer than table salt” and "practically non-toxic" to
12
     mammals, birds, and fish. Among the representations the NYAG found deceptive and
13
     misleading about the human and environmental safety of Roundup are the following:
14

15                   a) Remember that environmentally friendly Roundup herbicide is
                     biodegradable. It won't build up in the soil so you can use
16                   Roundup with confidence along customers' driveways, sidewalks
                     and fences ...
17
                     b) And remember that Roundup is biodegradable and won't build
18                   up in the soil. That will give you the environmental confidence you need to
19                   use Roundup everywhere you've got a weed, brush, edging or trimming
                     problem.
20
                     c) Roundup biodegrades into naturally occurring elements.
21
                     d) Remember that versatile Roundup herbicide stays where you put
22                   it. That means there's no washing or leaching to harm customers'
23                   shrubs or other desirable vegetation.

24

25   15
       David Barboza, The Power of Roundup; A Weed Killer Is A Block for Monsanto to Build On, N.Y. Times,
26    Aug. 2, 2001, available at http://www.nytimes.com/2001/08/02/business/the-power-of-roundup-a-weed-
      killeris-a-block-for-monsanto-to-build-on.html.




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          Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 11 of 33




1                    e) This non-residual herbicide will not wash or leach in the soil. It … stays
                     where you apply it.
2
                     f) You can apply Roundup with “confidence because it will stay where you
3
                     put it” it bonds tightly to soil particles, preventing leaching. Then, soon after
4                    application, soil microorganism’s biodegrade Roundup into natural products.

5                    g) Glyphosate is less toxic to rats than table salt following acute
                     oral ingestion.
6
                     h) Glyphosate's safety margin is much greater than required. It has over a
7
                     1,000-fold safety margin in food and over a 700-fold safety margin for
8                    workers who manufacture it or use it.

9                    i) You can feel good about using herbicides by Monsanto. They carry a
                     toxicity category rating of 'practically non-toxic' as it pertains to mammals,
10                   birds and fish.
11
                     j) “Roundup can be used where kids and pets will play and breaks down into
12                   natural material.” This ad depicts a person with his head in the ground and a
                     pet dog standing in an area which has been treated with Roundup®.16
13
            3.26.    On November 19, 1996, Monsanto entered into an Assurance of
14

15   Discontinuance with NYAG, in which Monsanto agreed, among other things, “to cease and

16   desist from publishing or broadcasting any advertisements [in New York] that represent,

17   directly or by implication” that:
18                   a) its glyphosate-containing pesticide products or any component thereof are
19                   safe, non-toxic, harmless or free from risk.

20                   b) its glyphosate-containing pesticide products or any component thereof
                     manufactured, formulated, distributed or sold by Monsanto are biodegradable.
21
                     c) its glyphosate-containing pesticide products or any component thereof stay
22                   where they are applied under all circumstances and will not move through the
23                   environment by any means.

24

25
     16
26    Attorney General of the State of New York, in the Matter of Monsanto Company, Assurance of
      Discontinuance Pursuant to Executive Law § 63(15) (Nov. 1996).




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                                                                        Phone (206) 622-8000 Fax (206) 682-2305
          Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 12 of 33




1                    d) its glyphosate-containing pesticide products or any component thereof are
                     "good" for the environment or are "known for their environmental
2                    characteristics."
3
                     e) glyphosate-containing pesticide products or any component thereof are
4                    safer or less toxic than common consumer products other than herbicides.

5                    f) its glyphosate-containing products or any component thereof might be
                     classified as "practically non-toxic."
6
             3.27.   Monsanto did not alter its advertising in the same manner in any state other
7

8    than New York, and on information and belief still has not done so today.

9            3.28.   In 2009, France’s highest court ruled that Monsanto had not told the truth
10   about the safety of Roundup®. The French court affirmed an earlier judgment that Monsanto
11
     had falsely advertised its herbicide Roundup® as “biodegradable” and that it “left the soil
12
     clean.” 17
13

14

15   Classifications and Assessments of Glyphosate

16           3.29.   The IARC process for the classification of glyphosate followed the stringent

17   procedures for the evaluation of a chemical agent. Over time, the IARC Monograph program
18   has reviewed 980 agents. Of those reviewed, it has determined 116 agents to be Group 1
19
     (Known Human Carcinogens); 73 agents to be Group 2A (Probable Human Carcinogens);
20
     287 agents to be Group 2B (Possible Human Carcinogens); 503 agents to be Group 3 (Not
21
     Classified); and one agent to be Probably Not Carcinogenic.
22

23

24

25
     17
26     Monsanto Guilty in ‘False Ad’ Row, BBC, Oct. 15, 2009, available at
      http://news.bbc.co.uk/2/hi/europe/8308903.stm.




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          Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 13 of 33




1            3.30.   The established procedure for IARC Monograph evaluations is described in

2    the IARC Programme’s Preamble. 18 Evaluations are performed by panels of international
3
     experts, selected on the basis of their expertise and the absence of actual or apparent conflicts
4
     of interest.
5
             3.31.   One year before the Monograph meeting, the meeting is announced and there
6
     is a call both for data and for experts. Eight months before the Monograph meeting, the
7

8    Working Group membership is selected and the sections of the Monograph are developed by

9    the Working Group members. One month prior to the Monograph meeting, the call for data is
10   closed and the various draft sections are distributed among Working Group members for
11
     review and comment. Finally, at the Monograph meeting, the Working Group finalizes
12
     review of all literature, evaluates the evidence in each category, and completes the overall
13
     evaluation. Within two weeks after the Monograph meeting, the summary of the Working
14

15   Group findings is published in The Lancet Oncology, and within a year after the meeting, the

16   final Monograph is finalized and published.

17           3.32.   In assessing an agent, the IARC Working Group reviews the following
18   information:      (a) human, experimental, and mechanistic data; (b) all pertinent
19
     epidemiological studies and cancer bioassays; and (c) representative mechanistic data. The
20
     studies must be publicly available and have sufficient detail for meaningful review, and
21
     reviewers cannot be associated with the underlying study.
22

23

24

25
     18
26     World Health Org., IARC Monographs on the Evaluation of Carcinogenic Risks to Humans: Preamble (2006),
      available at http://monographs.iarc.fr/ENG/Preamble/CurrentPreamble.pdf.




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     COMPLAINT FOR DAMAGES                  13                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                        Phone (206) 622-8000 Fax (206) 682-2305
          Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 14 of 33




1           3.33.   In March 2015, IARC reassessed glyphosate. The summary published in The

2    Lancet Oncology reported that glyphosate is a Group 2A agent and probably carcinogenic in
3
     humans.
4
            3.34.   On July 29, 2015, IARC issued its Monograph for glyphosate in Volume 112.
5
     For the volume that assessed glyphosate, a Working Group of 17 experts from 11 countries
6
     met at IARC from March 3–10, 2015, to assess the carcinogenicity of certain herbicides,
7

8    including glyphosate. The March meeting culminated nearly a one-year review and

9    preparation by the IARC Secretariat and the Working Group, including a comprehensive
10   review of the latest available scientific evidence. According to published procedures, the
11
     Working Group considered “reports that have been published or accepted for publication in
12
     the openly available scientific literature” as well as “data from governmental reports that are
13
     publicly available.”
14

15          3.35.   The studies considered the following exposure groups: occupational exposure

16   of farmers and tree nursery workers in the United States, forestry workers in Canada and

17   Finland, and municipal weed-control workers in the United Kingdom; and para-occupational
18   exposure in farming families.
19
            3.36.   Glyphosate was identified as the second-most used household herbicide in the
20
     United States for weed control between 2001 and 2007 and the most heavily used herbicide
21
     in the world in 2012.
22

23          3.37.   Exposure pathways are identified as air (especially during spraying), water,

24   and food. Community exposure to glyphosate is widespread and found in soil, air, surface

25   water, and groundwater, as well as in food.
26




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     COMPLAINT FOR DAMAGES               14                 500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                   Phone (206) 622-8000 Fax (206) 682-2305
          Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 15 of 33




1            3.38.     The assessment of the IARC Working Group identified several case control

2    studies of occupational exposure in the United States, Canada, and Sweden. These studies
3
     show a human health concern from agricultural and other work-related exposure to
4
     glyphosate.
5
             3.39.     The IARC Working Group found an increased risk between exposure to
6
     glyphosate and non-Hodgkin’s lymphoma (“NHL”) and several subtypes of NHL, and the
7

8    increased risk persisted after adjustment for other pesticides.

9            3.40.     The IARC Working Group also found that glyphosate caused DNA and
10   chromosomal damage in human cells. One study in community residents reported increases
11
     in blood markers of chromosomal damage (micronuclei) after glyphosate formulations were
12
     sprayed.
13
             3.41.     In male CD-1 mice, glyphosate induced a positive trend in the incidence of a
14

15   rare tumor, renal tubule carcinoma. A second study reported a positive trend for

16   haemangiosarcoma in male mice. Glyphosate increased pancreatic islet-cell adenoma in male

17   rats in two studies. A glyphosate formulation promoted skin tumors in an initiation-
18   promotion study in mice.
19
             3.42.     The IARC Working Group also noted that glyphosate has been detected in the
20
     urine of agricultural workers, indicating absorption. Soil microbes degrade glyphosate to
21
     aminomethylphosphoric acid (AMPA). Blood AMPA detection after exposure suggests
22

23   intestinal microbial metabolism in humans.

24           3.43.     The IARC Working Group further found that glyphosate and glyphosate

25   formulations induced DNA and chromosomal damage in mammals, and in human and animal
26
     cells in utero.



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                                                                     Phone (206) 622-8000 Fax (206) 682-2305
           Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 16 of 33




1            3.44.    The IARC Working Group also noted genotoxic, hormonal, and enzymatic

2    effects in mammals exposed to glyphosate.19 Essentially, glyphosate inhibits the biosynthesis
3
     of aromatic amino acids, which leads to several metabolic disturbances, including the
4
     inhibition of protein and secondary product biosynthesis and general metabolic disruption.
5
             3.45.    The IARC Working Group also reviewed an Agricultural Health Study,
6
     consisting of a prospective cohort of 57,311 licensed pesticide applicators in Iowa and North
7

8    Carolina. 20 While this study differed from others in that it was based on a self-administered

9    questionnaire, the results support an association between glyphosate exposure and Multiple
10   Myeloma, Hairy Cell Leukemia (HCL), and Chronic Lymphocytic Leukemia (CLL), in
11
     addition to several other cancers.
12
     Other Earlier Findings about Glyphosate’s Dangers to Human Health
13
             3.46.    The EPA has a technical fact sheet, as part of its Drinking Water and Health,
14

15   National Primary Drinking Water Regulations publication, relating to glyphosate. This

16   technical fact sheet predates the IARC March 20, 2015, evaluation. The fact sheet describes

17   the release patterns for glyphosate as follows:
18           Release Patterns
19
             Glyphosate is released to the environment in its use as an herbicide for
20           controlling woody and herbaceous weeds on forestry, right-of-way, cropped
             and non-cropped sites. These sites may be around water and in wetlands.
21
             It may also be released to the environment during its manufacture,
22           formulation, transport, storage, disposal, and cleanup, and from spills. Since
23
     19
24      Guyton et al., Carcinogenicity of Tetrachlorvinphos, Parathion, Malathion, Diazinon & Glyphosate, supra at
       77.
     20
25      Anneclare J. De Roos et al., Cancer Incidence Among Glyphosate-Exposed Pesticide Applicators in the
       Agricultural Health Study, 113 Envt’l Health Perspectives 49-54 (2005), available at
26     http://www.ncbi.nlm.nih.gov/pmc/articles/PMC1253709/pdf/ehp0113-000049.pdf.




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     COMPLAINT FOR DAMAGES                    16                    500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                           Phone (206) 622-8000 Fax (206) 682-2305
           Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 17 of 33




1            glyphosate is not a listed chemical in the Toxics Release Inventory, data on
             releases during its manufacture and handling are not available.
2
             Occupational workers and home gardeners may be exposed to glyphosate by
3
             inhalation and dermal contact during spraying, mixing, and cleanup. They
4            may also be exposed by touching soil and plants to which glyphosate was
             applied. Occupational exposure may also occur during glyphosate's
5            manufacture, transport storage, and disposal. 21

6            3.47.    In 1995, the Northwest Coalition for Alternatives to Pesticides reported that in
7
     California, the state with the most comprehensive program for reporting of pesticide-caused
8
     illness, glyphosate was the third most commonly-reported cause of pesticide illness among
9
     agricultural workers.22
10
     The Toxicity of Other Ingredients in Roundup®
11

12           3.48.    In addition to the toxicity of the active ingredient, glyphosate, several studies

13   support the hypothesis that the glyphosate-based formulation in Defendant’s Roundup®
14   products is more dangerous and toxic than glyphosate alone. Indeed, as early as 1991,
15
     available evidence demonstrated that glyphosate formulations were significantly more toxic
16
     than glyphosate alone.23
17
             3.49.    In 2002, a study by Julie Marc entitled “Pesticide Roundup Provokes Cell
18

19   Division Dysfunction at the Level of CDK 1/ Cyclin B Activation,” revealed Roundup ®

20

21

22

23   21
        U.S. Envtl. Prot. Agency, Technical Factsheet on: Glyphosate, supra.
     22
24      Caroline Cox, Glyphosate, Part 2: Human Exposure and Ecological Effects, 15 J. PESTICIDE REFORM 4
       (1995); W.S. Peas et al., Preventing pesticide-related illness in California agriculture: Strategies and
25     priorities. Environmental Health Policy Program Report, Univ. of Cal. School of Public Health, Calif. Policy
       Seminar (1993).
     23
26      Martinez, T.T. and K. Brown, Oral and pulmonary toxicology of the surfactant used in Roundup herbicide,
       PROC. WEST. PHARMACOL. SOC. 34:43-46 (1991).




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     COMPLAINT FOR DAMAGES                     17                    500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                            Phone (206) 622-8000 Fax (206) 682-2305
           Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 18 of 33




1    causes delays in the cell cycles of sea urchins but that the same concentrations of glyphosate

2    alone were ineffective and did not alter cell cycles.24
3
             3.50.     A 2004 study by Marc and others, entitled “Glyphosate-based pesticides affect
4
     cell cycle regulation,” demonstrated a molecular link between glyphosate-based products and
5
     cell cycle dysregulation. The researchers noted that “[c]ell cycle dysregulation is a hallmark
6
     of tumor cells and human cancer. Failure in the cell cycle checkpoints leads genomic
7

8    instability and subsequent development of cancer from the initial affected cell.” Further,

9    “[s]ince cell cycle disorders such as cancer result from dysfunction of a unique cell, it was of
10   interest to evaluate the threshold dose of glyphosate affecting the cells.” 25
11
             3.51.     In 2005, a study by Francisco Peixoto, entitled “Comparative effects of the
12
     Roundup and glyphosate on mitochondrial oxidative phosphorylation,” demonstrated that
13
     Roundup®’s effects on rat liver mitochondria are far more toxic than equal concentrations of
14

15   glyphosate alone. The Peixoto study further suggested that the harmful effects of Roundup®

16   on mitochondrial bioenergetics could not be exclusively attributed to glyphosate but could be

17   the result of result of other chemicals, such as the surfactant POEA, or the alternative, due to
18   potential synergic effect between glyphosate and other ingredients in the Roundup ®
19
     formulation. 26
20

21

22   24
        Julie Marc, et al., Pesticide Roundup Provokes Cell Division Dysfunction at the Level of CDK1/Cyclin B
23     Activation, 15 CHEM. RES. TOXICOL. 326-331 (2002), available at
       http://pubs.acs.org/doi/full/10.1021/tx015543g.
     25
24      Julie Marc, et al., Glyphosate-based pesticides affect cell cycle regulation, 96 BIOLOGY OF
      THE CELL 245, 245-249 (2004), available at
25     http://onlinelibrary.wiley.com/doi/10.1016/j.biolcel.2003.11.010/epdf.
     26
        Francisco Peixoto, Comparative effects of the Roundup and glyphosate on mitochondrial oxidative
26     phosphorylation, 61 CHEMOSPHERE 1115, 1122 (2005), available at http://www.ask-
       force.org/web/Seralini/Peixoto-Comparative-Effects-RR-Glyphosate-2006.pdf.




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     COMPLAINT FOR DAMAGES                    18                     500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                            Phone (206) 622-8000 Fax (206) 682-2305
          Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 19 of 33




1           3.52.    In 2009, Nora Benachour and Gilles-Eric Seralini published a study

2    examining the effects of Roundup® and glyphosate that were far below agricultural
3
     recommendations, corresponding with low levels of residue in food. The researchers
4
     ultimately concluded that supposed “inert” ingredients, and possibly POEA, alter human cell
5
     permeability and amplify toxicity of glyphosate alone. The researchers further suggested that
6
     assessments of the glyphosate toxicity should account for the presence of adjuvants or
7

8    additional chemicals used in the formulation of the complete pesticide. The study confirmed

9    that the adjuvants present in Roundup® are not, in fact, inert and that Roundup® is potentially
10   far more toxic than its active ingredient glyphosate alone.27
11
     Recent Worldwide Bans on Roundup®/Glyphosate
12
            3.53.    Several countries around the world have instituted bans on the sale of
13
     Roundup® and other glyphosate-containing herbicides, both before and since IARC first
14

15   announced its assessment for glyphosate in March 2015, and more countries undoubtedly

16   will follow suit as the dangers of the use of Roundup® are more widely known. The

17   Netherlands issued a ban on all glyphosate-based herbicides in April 2014, including
18   Roundup®, which took effect by the end of 2015. In issuing the ban, the Dutch Parliament
19
     member who introduced the successful legislation stated: “Agricultural pesticides in user-
20
     friendly packaging are sold in abundance to private persons. In garden centers, Roundup® is
21
     promoted as harmless, but unsuspecting customers have no idea what the risks of this product
22

23

24

25   27
       Nora Benachour, et al., Glyphosate Formulations Induce Apoptosis and Necrosis in Human Umbilical,
26    Embryonic, and Placental Cells, 22 CHEM. RES. TOXICOL. 97-105 (2008), available at
      https://big.assets.huffingtonpost.com/france.pdf.




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     COMPLAINT FOR DAMAGES                  19                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                        Phone (206) 622-8000 Fax (206) 682-2305
           Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 20 of 33




1    are. Especially children are sensitive to toxic substances and should therefore not be exposed

2    to it.”28
3
                 3.54.   The Brazilian Public Prosecutor in the Federal District requested that the
4
     Brazilian Justice Department suspend the use of glyphosate.29
5
                 3.55.   France banned the private sale of Roundup® and glyphosate following the
6
     IARC assessment for glyphosate.30
7

8                3.56.   Bermuda banned both the private and commercial sale of glyphosates,

9    including Roundup®. The Bermuda government explained its ban as follows: “Following a
10   recent scientific study carried out by a leading cancer agency, the importation of weed spray
11
     ‘Roundup’ has been suspended.”31
12
                 3.57.   The Sri Lankan government banned the private and commercial use of
13
     glyphosates, particularly out of concern that glyphosate has been linked to fatal kidney
14

15   disease in agricultural workers.32

16

17

18   28
        Holland’s Parliament Bans Glyphosate Herbicides, The Real Agenda, April 14, 2014, available at
19     https://real-agenda.com/hollands-parliament-bans-glyphosate-herbicides/.
     29
        Christina Sarich, Brazil’s Public Prosecutor Wants to Ban Monsanto’s Chemicals Following
20    Recent Glyphosate-Cancer Link, GLOBAL RESEARCH, MAY 14, 2015, available at
      https://www.globalresearch.ca/brazils-public-prosecutor-wants-to-ban-monsantos-chemicals-following-recent-
21    glyphosate-cancer-link/5449440 ; see Ministério Público Federal, MPF/DF reforça pedido para que glifosato
      seja banido do Mercado nacional, April 14, 2015, available at http://noticias.pgr.mpf.mp.br/noticias/noticias-
22    do-site/copy_of_meio-ambiente-e-patrimonio-cultural/mpf-df-reforca-pedido-para-que-glifosato-seja-banido-
      do-mercado-nacional.
     30
23      Zoe Schlanger, France Bans Sales of Monsanto’s Roundup in Garden Centers, 3 Months After U.N. Calls it
       ‘Probable Carcinogen’, Newsweek, June 15, 2015, available at https://www.newsweek.com/france-bans-sale-
24     monsantos-roundup-garden-centers-after-un-names-it-probable-343311.
     31
        Minister: Importation of Roundup Suspended, Bernews, May 11, 2015, available at
25     http://bernews.com/2015/05/importation-weed-spray-round-suspended/.
     32
        Sri Lanka’s New President Puts Immediate Ban on Glyphosate Herbicides, Sustainable Pulse,
26   May 25, 2015, available at https://sustainablepulse.com/2015/05/25/sri-lankas-new-president-puts-immediate-
       ban-on-glyphosate-herbicides/#.XBgQlNtKgc0.




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     COMPLAINT FOR DAMAGES                     20                     500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                             Phone (206) 622-8000 Fax (206) 682-2305
          Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 21 of 33




1            3.58.    The government of Columbia announced its ban on using Roundup® and

2    glyphosate to destroy illegal plantations of coca, the raw ingredient for cocaine, because of
3
     the WHO’s finding that glyphosate is probably carcinogenic. 33
4
     Plaintiff’s Exposure to Roundup®
5
             3.59.    Michael Zech used Roundup® Weed & Grass Killer as an employee of a
6
     Christmas tree farm in Washington State for approximately six weeks a year for an average
7

8    of three days per week for eight hours at a time from approximately 1979-1991.

9            3.60.    During this timeframe, Mr. Zech primarily applied Roundup® Weed & Grass
10   Killer with a backpack sprayer.
11
             3.61.    During this timeframe, Mr. Zech was often and regularly exposed to
12
     Roundup® Weed & Grass Killer on his skin when applying Roundup® Weed & Grass Killer,
13
     including on his back, shoulder and arms due to leakage of the product.
14

15           3.62.    Michael Zech purchased Roundup® Weed & Grass Killer for approximately

16   25 years at his personal residence. Mr. Zech purchased Roundup® Weed & Grass Killer in its

17   liquid form and applied it in Washington State.
18           3.63.    Mr. Zech applied Roundup® Weed & Grass Killer with a hand sprayer and
19
     was often and regularly exposed to Roundup® on his skin, including on his hands and feet.
20
             3.64.    On or around July 2018, doctors diagnosed Michael Zech with diffuse large
21
     B-cell non-Hodgkin’s lymphoma. As a result of his injury, Mr. Zech underwent
22

23   chemotherapy, had a bone marrow biopsy and additional medical care.

24

25
     33
26      Columbia to ban coca spraying herbicide glyphosate, BBC, May 10, 2015, available at
     http://www.bbc.com/news/world-latin-america-32677411.




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     COMPLAINT FOR DAMAGES                    21                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                          Phone (206) 622-8000 Fax (206) 682-2305
          Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 22 of 33




1           3.65.    During the entire time Michael Zech was exposed to Roundup® Weed & Grass

2    Killer, he did not know that exposure to Roundup® Weed & Grass Killer was injurious to his
3
     health or the health of others.
4

5
                    IV.    TOLLING OF THE STATUTE OF LIMITATIONS
6                               DISCOVERY RULE TOLLING
7           4.1.     The running of any statute of limitations has been tolled by reason of
8
     Defendant’s fraudulent concealment. Defendant, through its affirmative misrepresentations
9
     and omissions, actively concealed from Plaintiffs the true risks associated with Roundup®
10
     and glyphosate.
11
            4.2.     At all relevant times, Defendant has maintained that Roundup® is safe, non-
12

13   toxic, and non-carcinogenic.

14          4.3.     Even as of July 2016, Defendant continued to represent to the public that
15   “Regulatory authorities and independent experts around the world have reviewed numerous
16
     long-term/carcinogenicity and genotoxicity studies and agree that there is no evidence that
17
     glyphosate, the active ingredient in Roundup ® brand herbicides and other glyphosate-based
18
     herbicides, causes cancer, even at very high doses, and that it is not genotoxic.34
19

20          4.4.     As a result of Defendant’s actions, Plaintiffs were unaware, and could not

21   reasonably know or have learned through reasonable diligence that Roundup® and/or

22   glyphosate contact, exposed Plaintiff Michael Zech to the risks alleged herein and that those
23   risks were the direct and proximate result of Defendant’s acts and omissions.
24

25
     34
26     Backgrounder – Glyphosate: No Evidence of Carcinogenicity, Updated November 2014, available at
      https://www.monsantoglobal.com/global/jp/products/Documents/no-evidence-of-carcinogenicity.pdf.




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     COMPLAINT FOR DAMAGES                  22                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                        Phone (206) 622-8000 Fax (206) 682-2305
          Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 23 of 33




1           4.5.    Furthermore, Defendant is estopped from relying on any statute of limitations

2    because of its fraudulent concealment of the true character, quality and nature of Roundup ®.
3
     Defendant was under a duty to disclose the true character, quality, and nature of Roundup ®
4
     because this was non-public information over which Defendant had and continues to have
5
     exclusive control, and because Defendant knew that this information was not available to
6
     Plaintiffs or to distributors of Roundup®. In addition, Defendant is estopped from relying on
7

8    any statute of limitations because of its intentional concealment of these facts.

9           4.6.    Plaintiffs had no knowledge that Defendant was engaged in the wrongdoing
10   alleged herein. Because of the fraudulent acts of concealment of wrongdoing by Defendant,
11
     Plaintiffs could not have reasonably discovered the wrongdoing at any time prior. Also, the
12
     economics of this fraud should be considered. Defendant had the ability to and did spend
13
     enormous amounts of money in furtherance of its purpose of marketing, promoting and/or
14

15   distributing a profitable herbicide, notwithstanding the known or reasonably known risks.

16   Plaintiffs and medical professionals could not have afforded and could not have possibly

17   conducted studies to determine the nature, extent, and identity of related health risks, and
18   were forced to rely on only the Defendant’s representations. Accordingly, Defendant is
19
     precluded by the discovery rule and/or the doctrine of fraudulent concealment from relying
20
     upon any statute of limitations.
21
                                   V.          CAUSE OF ACTION
22
                                         CLAIM ONE
23
                               WASHINGTON PRODUCT LIABILITY ACT
24
            5.1.    Plaintiffs hereby incorporate by reference the allegations of this Complaint
25
     contained in each of the preceding paragraphs as if fully stated herein.
26




                                                             SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES                23                 500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                    Phone (206) 622-8000 Fax (206) 682-2305
         Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 24 of 33




1          5.2.    At all times relevant to this litigation, Defendant engaged in the business of

2    testing, developing, designing, manufacturing, marketing, selling, distributing, and
3
     promoting Roundup® products.
4
           5.3.    At all times relevant to this litigation, Defendant designed, researched,
5
     developed, manufactured, produced, tested, assembled, labeled, advertised, promoted,
6
     marketed, sold, and distributed the Roundup® products used by Plaintiff Michael Zech as
7

8    described above.

9          5.4.    At all times relevant to this litigation, Defendant’s Roundup ® products were
10   expected to reach and did reach the intended consumers, handlers, and users or other
11
     persons coming into contact with these products in Washington and throughout the United
12
     States, including Plaintiff Michael Zech, without substantial change in their condition as
13
     designed, manufactured, sold, distributed, labeled, and marketed by Defendant.
14

15         5.5.    In violation of the Washington Products Liability Act (“WPLA”), RCW 7.72,

16   et seq., at all times relevant to this action, at the time Defendant’s Roundup® products left

17   control of Defendant, they were defective and not reasonably safe. These defects include,
18   but are not limited to, the following:
19
                  i. Defendant is strictly liable to Plaintiff Michael Zech for his injuries and
20
                     damages because at the time of manufacture, and at the time Defendant’s
21
                     Roundup® products left control of Defendant, the likelihood that
22

23                   Defendant’s Roundup® products would cause injury or damage similar to

24                   that suffered by Plaintiff, and the seriousness of such injury or damage had

25                   been known by Defendant and outweighed the burden on Defendant to
26
                     design a product that would have prevented Plaintiff’s injuries and damages



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     COMPLAINT FOR DAMAGES               24               500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                 Phone (206) 622-8000 Fax (206) 682-2305
        Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 25 of 33




1                and outweighed the adverse effect that an alternative design that was

2                practical and feasible would have on the usefulness of the subject product.
3
              ii. Defendant’s Roundup® products were unsafe to an extent beyond that which
4
                 would be contemplated by an ordinary consumer, in one or more of the
5
                 following particulars: exposure to Roundup® and specifically, its active
6
                 ingredient glyphosate, could result in cancer and other severe illnesses and
7

8                injuries, making Roundup® not reasonably safe when used in the way it is

9                ordinarily used and is dangerous to an extent beyond that which would be
10               contemplated by the ordinary consumer.
11
             iii. The Roundup® products manufactured and/or supplied by Defendant were
12
                 defective in design in that, an alternative design and/or formulation exists
13
                 that would prevent severe and permanent injury. Indeed, at the time that
14

15               Defendant designed its Roundup® products, the state of the industry’s

16               scientific knowledge was such that a less risky design or formulation was

17               attainable.
18           iv. The Roundup® products were not reasonably safe in design under the
19
                 WPLA.
20
              v. The Roundup® products manufactured and/or supplied by Defendant was
21
                 not reasonably safe because Defendant did not provide an adequate warning
22

23               or instruction about the product. At the time the Roundup® products left

24               Defendant’s control, they possessed dangerous characteristics, and

25               Defendant failed to use reasonable care to provide an adequate warning of
26
                 such characteristics and their danger to users and handlers of the product.



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     COMPLAINT FOR DAMAGES         25                  500 Central Building 810 Third Avenue Seattle, WA 98104
                                                              Phone (206) 622-8000 Fax (206) 682-2305
        Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 26 of 33




1                The Roundup® products are not safe and cause severe and permanent

2                injuries. The Roundup® products were not reasonably safe because the
3
                 warning was inadequate and Defendant could have provided adequate
4
                 warnings or instructions.
5
             vi. The Roundup® products manufactured and/or supplied by Defendant were
6
                 not reasonably safe because adequate warnings or manufacturer instructions
7

8                were not provided after the Roundup® products were manufactured and

9                when Defendant learned of, or should have learned of, the dangers
10               connected with the Roundup® products.
11
             vii. The Roundup® products manufactured and/or supplied by Defendant were
12
                 not reasonably safe because they did not conform to an express warranty
13
                 made by Defendant regarding the product’s safety and fitness for use.
14

15               Defendant expressly warranted that the Roundup® products were safe and fit

16               for their intended purposes, that they were of merchantable quality, that they

17               did not produce any dangerous side effects, that they were adequately tested,
18               and that their Roundup® products were safe to human health and the
19
                 environment, and effective, fit, and proper for their intended use. Defendant
20
                 did not disclose the material risks that Defendant’s Roundup® products
21
                 could cause severe and permanent injury. Defendant’s express warranty
22

23               regarding the Roundup® products induced Plaintiff Michael Zech to use the

24               products, and Plaintiff’s damage was proximately caused because

25               Defendant’s express warranty was untrue. The Roundup® products were not
26




                                                      SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES          26                 500 Central Building 810 Third Avenue Seattle, WA 98104
                                                              Phone (206) 622-8000 Fax (206) 682-2305
         Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 27 of 33




1                    reasonably safe because of nonconformity to express warranty under the

2                    WPLA.
3
           5.6.    As a direct and proximate result of Defendant placing its defective Roundup®
4
     products into the stream of commerce, Plaintiff Michael Zech has suffered and continues to
5
     suffer grave injuries, and has endured physical pain and discomfort, as well as economic
6
     hardship, including considerable financial expenses for medical care and treatment. Plaintiff
7

8    will continue to incur these expenses in the future.

9
                                      CLAIM TWO
10                           BREACH OF IMPLIED WARRANTIES

11         5.7.    Plaintiffs hereby incorporate by reference the allegations of this Complaint

12   contained in each of the preceding paragraphs as if fully stated herein.
13
           5.8.    At all times relevant to this litigation, Defendant engaged in the business of
14
     testing, developing, designing, manufacturing, marketing, selling, distributing, and promoting
15
     its Roundup® products, which are defective and unreasonably dangerous to consumers,
16
     including Plaintiff Michael Zech, thereby placing Roundup® products into the stream of
17

18   commerce. These actions were under the ultimate control and supervision of Defendant.

19         5.9.    Before the time that Plaintiff Michael Zech was exposed to the use of the
20   aforementioned Roundup® products, Defendant impliedly warranted to its consumers—
21
     including Plaintiff’s employer—that its Roundup® products were of merchantable quality
22
     and safe and fit for the use for which they were intended; specifically, as agricultural and
23
     horticultural herbicides.
24

25         5.10.   Defendant, however, failed to disclose that Roundup® has dangerous

26   propensities when used as intended and that the use of and/or exposure to Roundup ® and




                                                            SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES              27                  500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                   Phone (206) 622-8000 Fax (206) 682-2305
         Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 28 of 33




1    glyphosate-containing products carries an increased risk of developing severe injuries,

2    including Plaintiff’s injuries.
3
            5.11.   Upon information and belief, Plaintiff Michael Zech and/or Plaintiff’s
4
     employers reasonably relied upon the skill, superior knowledge and judgment of Defendant
5
     and upon its implied warranties that the Roundup ® products were of merchantable quality
6
     and fit for their intended purpose or use.
7

8           5.12.   Upon information and belief, Plaintiff Michael Zech and/or Plaintiff’s

9    employer was at all relevant times in privity with Defendant.
10          5.13.   Plaintiff Michael Zech is the intended third-party beneficiary of implied
11
     warranties made by Defendant to the purchasers of its agricultural and horticultural
12
     herbicides, including the company that employed Plaintiff, and as such Plaintiff is entitled
13
     to assert this claim.
14

15          5.14.   The Roundup® products were expected to reach and did in fact reach

16   consumers and users, including Plaintiff Michael Zech, without substantial change in the

17   condition in which they were manufactured and sold by Defendant.
18          5.15.   At all times relevant to this litigation, Defendant was aware that consumers
19
     and users of its products, including Plaintiff Michael Zech, would use Roundup ® products
20
     as marketed by Defendant, which is to say that Plaintiff was a foreseeable user of
21
     Roundup®.
22

23          5.16.   Defendant intended that its Roundup® products be used in the manner in

24   which Plaintiff Michael Zech in fact used them and Defendant impliedly warranted each

25   product to be of merchantable quality, safe, and fit for this use, despite the fact that
26
     Roundup® was not adequately tested or researched.



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     COMPLAINT FOR DAMAGES              28                500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                 Phone (206) 622-8000 Fax (206) 682-2305
         Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 29 of 33




1          5.17.   In reliance upon Defendant’s implied warranty, Plaintiff Michael Zech used

2    Roundup® as instructed and labeled and in the foreseeable manner intended, recommended,
3
     promoted, and marketed by Defendants.
4
           5.18.   Neither Plaintiff nor Plaintiff’s employer could have reasonably discovered or
5
     known of the risks of serious injury associated with Roundup® or glyphosate.
6
           5.19.   Defendant breached its implied warranty to Plaintiff Michael Zech in that its
7

8    Roundup® products were not of merchantable quality, safe, or fit for their intended use, or

9    adequately tested. Roundup® has dangerous propensities when used as intended and can
10   cause serious injuries, including those injuries complained of herein.
11
           5.20.   The harm caused by Defendant’s Roundup® products far outweighed their
12
     benefit, rendering the products more dangerous than an ordinary consumer or user would
13
     expect and more dangerous than alternative products.
14

15         5.21.   As a direct and proximate result of Defendant’s wrongful acts and omissions

16   Plaintiff Michael Zech has suffered severe and permanent physical and emotional injuries.

17   Plaintiff has endured pain and suffering, has suffered economic loss (including significant
18   expenses for medical care and treatment) and will continue to incur these expenses in the
19
     future.
20

21                                        CLAIM THREE
               VIOLATION OF WASHINGTON CONSUMER PROTECTION ACT
22

23         5.22.   Plaintiffs hereby incorporate by reference the allegations of this Complaint

24   contained in each of the preceding paragraphs as if fully stated herein.
25         5.23.   Defendant violated the Washington Consumer Protection Act (“CPA”).
26




                                                           SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES              29                  500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                   Phone (206) 622-8000 Fax (206) 682-2305
          Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 30 of 33




1           5.24.   Defendant engaged in unfair or deceptive acts or practices including, but not

2    limited to, the following:
3
                    a) engaging in acts and practices by willfully failing and refusing to timely
4
                    report information that reasonably suggested Roundup®, like that used by
5

6                   Plaintiff Michael Zech, may cause or contribute to cause cancer and other

7                   serious illnesses;

8                   b)   representing knowingly or with reason to know that Roundup® has
9                   approval, characteristics, uses, or benefits that it does not have;
10
                    c) representing knowingly or with reason to know that Roundup ® is of a
11
                    particular standard, quality, or grade when it differs materially from that
12
                    representation; and/or
13

14                  d) representing knowingly or with reason to know that Roundup® has uses,

15                  benefits, or characteristics that have been otherwise proven incorrect;

16          5.25.   Defendant’s unfair and deceptive acts or practices described above were
17
     committed in the course of Defendant’s trade or commerce.
18
            5.26.   Defendant’s unfair and deceptive acts or practices described above affected
19
     public interest.
20
            5.27.   Defendant’s violation of the Washington CPA, whether individually or in
21

22   combination, caused Plaintiff Michael Zech’s injuries and damages set forth herein.

23                                 VI.    PUNITIVE DAMAGES
24          6.1.    Plaintiffs incorporate herein by reference, as though fully set forth at length,
25
     each and every allegation and statement contained in the foregoing paragraphs.
26




                                                             SC H ROETER , GOLD MARK & BENDER
     COMPLAINT FOR DAMAGES               30                   500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                     Phone (206) 622-8000 Fax (206) 682-2305
            Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 31 of 33




1            6.2.      Defendant is liable for punitive and/or exemplary damages under choice of

2    law principles. Defendant acted with willful disregard of the rights of the Plaintiffs and the
3
     public. Defendant’s conduct was outrageous and reckless toward the safety of the Plaintiffs
4
     and the public.
5
                                            VII. DAMAGES
6
             7.1.      Plaintiffs incorporate herein by reference, as though fully set forth at length,
7

8    each and every allegation and statement contained in the foregoing paragraphs.

9            7.2.      As a direct and proximate result of Defendant’s tortious conduct and breach of

10
     duties as set forth herein, Plaintiff Michael Zech sustained serious injuries to include diffuse
11
     large B-cell non-Hodgkin’s lymphoma.
12

13   7.3.    The serious injuries sustained by Plaintiff Michael Zech are painful, permanent, and

14   disabling, and have necessitated extensive medical care and treatment in the past and will

15   continue to necessitate extensive medical care and treatment in the future.
16
     7.4.    As a direct and proximate result of his serious injuries, Plaintiff Michael Zech has
17
     sustained pain and suffering, both physical and mental, and with reasonable probability will
18
     continue to experience pain and suffering, both physical and mental, in the future.
19
             7.5.      As a further direct and proximate result of his injuries, Plaintiff Michael Zech
20

21   has sustained disability, and loss of enjoyment of life, and will continue to sustain disability

22   and loss of enjoyment of life in the future.
23           7.6.      As a further direct and proximate result of his injuries, Plaintiff Michael Zech
24
     has sustained medical expenses, out of pocket expenses, and costs. With reasonable
25
     probability, he will continue to sustain medical expenses, life care expenses, and other out of
26
     pocket costs and expenses in the future as a result of his serious injuries.


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     COMPLAINT FOR DAMAGES                  31                 500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                      Phone (206) 622-8000 Fax (206) 682-2305
          Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 32 of 33




1           7.7.    As a direct and proximate result of Defendant’s tortious conduct and breach of

2    duties as set forth herein, Dawn Zech, spouse of Michael Zech, has sustained and will
3
     continue to sustain a loss of consortium.
4
            7.8.    Plaintiffs are entitled to damages in an amount to be proved at trial, together
5
     with interest thereon and costs.
6
            7.9.    WHEREFORE, Plaintiffs pray for judgment against Defendant, and each of
7

8    them, as hereinafter set forth.

9

10                                 VIII. PRAYER FOR RELIEF
11          WHEREFORE, Plaintiffs pray for judgment and relief against the Defendant as
12
     follows:
13
            8.1.    General damages, in an amount to be proven at the time of trial;
14
            8.2.    Special damages to be shown at the time of trial, including all pre-judgment
15

16                  interest allowed by law;

17          8.3.    Punitive damages according to proof at the time of trial;

18          8.4.    Treble damages in the maximum amounts permitted by RCW 19.86.090;
19
            8.5.    Costs including reasonable attorney’s fees court costs and other litigation
20
                    expenses; and
21
            8.6.    Any other further relief as the Court deems just and proper.
22
                                    IX.   JURY TRIAL DEMAND
23

24          Plaintiffs demand a trial by jury on all of the triable issues within this Complaint.

25

26




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     COMPLAINT FOR DAMAGES                32                 500 Central Building 810 Third Avenue Seattle, WA 98104
                                                                    Phone (206) 622-8000 Fax (206) 682-2305
        Case 3:19-cv-05459-BHS Document 1 Filed 05/23/19 Page 33 of 33




1        DATED this 23rd day of May, 2019.

2                                            SCHROETER, GOLDMARK & BENDER
3
                                             s/ Sims G. Weymuller
4                                            s/ Elizabeth McLafferty
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